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                            U N ITED STA TE S D ISTR ICT C O U R T
                            SO UTH ERN D ISTR ICT O F FLO RIDA
                           No .        2: - g zwu o r

  U NITED STA TES O F A M ER ICA

  VS.



  ALFR ED O SAR D IN A S-G A RC IA ,

                         Defendant.
                                            /

                                  C RIM IN AL C O V ER SH EET


        D id thism atteroriginate from am atterpending in the Northern Region ofthe U nited States
        Attorney'sOfficepriorto October 14,2003?                     Yes      X        No.

  2.    D id thism atteroriginate from a m atterpending in the CentralRegion ofthe U nited States
        A ttom ey'sO fficepriorto Septem ber 1,2007?                  Y es    X        N o.

                                                Respectfully subm itted,

                                                BEN JAM W G.GREENBERG
                                                  ITED STA S TTORN EY


                                     BY :            k       <
                                                Th asA.N/atts FitzGerald
                                                A ssistantUnited States Attorney
                                                Florida BarN o.0273538
                                                99 N .E.4th Street
                                                M iam i,Florida 33132-2111
                                                TEL (305)961-9413
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AO 91(Rev.08/09) CriminalComplaint

                                 U NITED STATES D ISTRICT COURT
                                                             forthe
                                                  Southern DistrictofFlorida

               United StatesofAmerica
                            V.
           ALFREDOSARDINAS-GARCIA,                                   casexo. ?8- y z toto ''
                                                                                           J';o



                                                  CRIM INAL COM PLAINT

        1,thecomplainantin thiscase,statethatthefollowing istrueto thebestofmy knowledgeand belief.
Onoraboutthedatets)of                    August22,2018         inthecountyof                      Miami-Dade     inthe
   southern    Districtof                 Florida      ,thedefendantts)violated:
          CodeSection                                                  OffenseDescri
                                                                                   ption
16 U.S.C.3372(a)(1)                          Transport,receipt,and acquisitionoffish and wildli
                                                                                              fe possessed and
                                             transpdded in violation ofIawsand regulationsofthe U.S.




     Thiscrim inalcomplaintisbased on these facts:
PLEASE SEE ATTACHED AFFIDAVIT




        W Continuedontheattachedsheet.

                                                                                    /                /
                                                                                              x
                                                                                     Complainant'
                                                                                                Jsignature

                                                                               NPs Ran e obed c.MacKarvich
                                                                                        Pri ted nam andtitle

Sworntobeforemeand signed in m y presence.
                                                                                                            f

Date:         08/23/2018
                                                                                          Judge signature

City and state:                      Miam i, Florida                     MAG IST    TE JUDG JOHN J.O'SULLIVA N
                                                                                        Printednameand title
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                                                                          /é-% QG OD&


                   A FFIDAVIT IN SUPPO RT O F CR IM IN AL CO M PLAINT

         1,RobertC.M acK arvich,being firstduly sw orn,depose and state as follow s:

                lam aNationalPark Service(NPS)Rangerof theUnitedStatesDepartmentof
  the lnterior,and am thereforean ûçinvestigativeorlaw enforcem entofficer''oftheUnited States

  w ithin the m eaning ofTitle 16,U nited StatesCode,Section 3375.A s such,Iam a FederalLaw

  EnforcementOfficerwithin themeaning ofRule41(a),FederalRulesofCriminalProcedure
  and have held such designation since 2010. lam currently assigned to Biscayne NationalPark

  as the Supervisory U .S. Park Ranger,and prior to this assignm ent I w as a field officer at

  Biscayne N ationalPark and a field officer atBig Cypress N ationalPreserve.lhave received

  specialized training forlaw enforcem entoftk ers while lattended N orthern A rizona U niversity

  SeasonalLaw Enforcem entAcadem y,from which lg'
                                                raduated in Novem berof2008.Ihave a

  Bachelor's degree in Crim inal Justice from Florida lnternational U niversity and M aster of

  Science degree in Crim inal Justice and Seculity from University of Phoenix.l attended the

  FederalLaw EnforcementTrainingCenter(FLETC)atGlynco,GA,andgraduatedinM archof
  2013.1am currently an instructorforInterdisciplinary Resource Protection and Law Training

  that is adm inistered through the N ational Park Service.l have becom e fam iliar with the facts

  and circum stances contained herein during the course ofm y oftk ialduties and this affidavitis

  based on m y personalknow ledge,asw ellasfactsrelated to m eby other1aw enforcem entactive

  in this investigation.Because this affidavit is being subm itted for the lim ited purpose of

  establishing probable cause for issuance of a crim inal com plaint charging ALFRED O
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   SA RD IN AS-G A R CIA ,itdoesnotcontain allofthe inform ation know n to m e concerning this

   investigation'
                ,itcontainsonlythosefactsnecessary to establish probablecauseforthe arrest.

                 Based on m y training and experience,lam fam iliarw ith the law sand regulations

   plimarilyenforcedbytheNPS,upon theNationalParksand Preserveswithin thejurisdiction
   oftheDepartmentofthe lnterior.Iam also familiarwith the lawsand regulationsofthe State

   ofFlorida related to the harvest,possession,transportation,and sale ofm arine resourccsw ithin

   the w atersofthe State,asw ellasthe assim ilation ofm any ofthose sam e laws forthe landsand

   watersadministered by theNationalPark Service.

                 lam m aking this affidavitin supportofan application fora crim inalcom plaint

   for AT.FRED O SA R DIN AS-G A R CIA ,forviolations ofthe following law s:Title 16,United

   StatesCode,Sections3372(a)(1)and33724d)(theLaceyAct).
          4.     The information in this aftidavit is based on:(1) NPS Rangers seizures of
   illegallypossessedspinylobsters(Panulurusargusl;(2)illegallypossessed Floridastonecrab
   clawsseizedinconnectionwiththismatter;(3)otherwildlifeandmaterialsseizedinconnection

   withthecase;and,(4)statementsofthedefendant.
                                        LegalBackground

                 TheLacey Act,16USC j3372(a)(l),makesitunlawfulforany person to
  import,export,transport,sell,receive,acquire,orpurehase any fish or wildlife orplant

  taken,possessed,transported,orsold in violation ofany law ,treaty,orregulation ofthe

  U nited States.

                 Title 18,United States Code,Section 13(a),commonly referred to as the
  A ssim ilated Crim es A ct,perm its the application of substantive State crim inal1aw in areas of
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   federal reserves, as defined in Title 18, United States Code, Section 7,in the absence of a

   directly applicable federal enactm ent.A dditionally, Title 36, Code of Federal R egulations,

   Section2.3(a)specificallymandatesthatfishing inNationalPark watersmustbeconductedin
   accordancewith the lawsand regulationsofthe State within which theboundariesofthePark

   arelocated.

                  lt is illegal under the law s and regulations of the State of Florida to possess

   wnmglobstertailsonavesselwhileonorunderthewatersoftheStategFloridaAdministrative
   Code,Section.688-24.00344)j,topossessegg-bearing spiny lobstergFlolidaAdministrative
   Code,Section688-24.007(1)1;andtopossessundersizedspinylobstergFloridaAdministrative
   Code,Section 68B-24.003(1)j.
         8.       On August22,2018 atapproxim ately 15:25 hourswhileexercising m y dutiesas

  a federal1aw enforcem entofficer w ithin the boundaries of Biscayne N ationalPark,M iam i-D ade

  County,intheSouthernDistrictofFlorida,which isanareaofconcurrentjurisdiction,lobserved
  acommercialfishingvessel(FL 2718SH,ttSILVITA'')ocean-sideofBiscayneChanneltraveling
  from south to north.Iactivated my emergency lights and asauthorized by 36 CFR 2.349,I
  conducted a m arine tisheries inspection ofthe vessel.

         9.       Y ourA ffiantidentified him selfand began conducting an inspection ofthe vessel.

  Upon boarding the com m ercialvessel,a holding pen /live wellfullof live spiny lobster w as in

  plainview.lidentitiedthecaptainofthevesselasALFREDO SARINAS GARCIA (whichwas
  laterconfinued by hisFL DL 5635-000-75-366-0).SARINAS GARCIA advised he wasthe
  captain ofthe com m ercialvessel.Biscayne ChiefR anger Bradon Falls,who accom panied your

  Affiant,asked ifSA R IN A S G A RC IA w as donecom m ercialfishing forthe day and heading back

  to the dock. SA RIN A S GA RC IA stated that he was finished and heading in. Y our A ffiant
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 requested the vessel'sSpecialProductLicenseand Crawfish Endorsem entthatare issued by the

 Florida Fish and W ildlife Conservation Comm ission. The vesselwas properly licensed under

 Florida1aw to conductlobstering activities,including in thePark.

                 As your Affiant approached the live well,a plastic container with three spiny

 lobsterand whatappeared to be an undersized M utton Snapperwasin view . U pon m easurem ent

 ofthelobstersusingbothagaugebroughtbyyourAffiantand thelobstergaugeonthecomm ercial

 fishing vessel,itwas determ ined thatthe carapace ofone lobsterwas found to be lessthan the

 legally required 3 inches.M easurem entofthe M utton Snapper revealed itto be less than the

 required 18 inchesin length.Continuing the regtllatory inspection ofthe spiny lobstercontained

 in the live w ellforlegalcom pliance,itw as determ ined thatapproxim ately 28 ofthe spiny lobster

 were less than the required carapace length of3 inches.

         11.    ChiefFalls conducted a furtherexam ination ofsafety equipm entand otherholding

 com partm ents on the com m ercial fishing vessel,com m only known to hold salt-w ater products.

 During the inspection,Chief Falls discovered a red bag containing wrung spiny lobstertails that

 washidden in the forwarded bulkhead area,undenleath lifejackets.Upon inspection ofthered
 bag,itwasfoundtocontain231wnmgspinylobstertailsofwhich209wereundersized(lessthan
 thelegallymandatedtaillengthof5% inches)and2egg-bearingwnmglobstertails.
               ALFREDO SARINAS GARCIA wastransjorted to Park HeadquartersatConvoy
 Point,where he executed a written waiverofhisM iranda rights and responded to questions. H e

 stated thathe had been lobstering thatday in the area approxim ately three m iles south ofFow ey

 R ocks,in 15 to 20 feet ofw ater.Y our A ffiantis aw are thatthe boundary ofB iscayne N ational

 Park is extends seaward to the 60-footbathymetric line,indicating thatthe marine resources at

 issue w ere taken w ithin Park w aters.He further advised thatitw as his intentto sellthe lobster



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  tails.He further indicated his awareness ofthe requirem ents ofFlorida law regarding the size

  lim itations.

                                            Conçlusion

                  Based on m y training and expelience and the factssetforth in thisaffidavit,your

  Affiantsubmits thatprobable cause existsto believe thatALFREDO SARDINA S-GARCIA

  acquired, received, possessed, and transported fish and wildlife taken, possessed, and

  transported in violation of the laws and regulations ofthe United States, as m ore fully

  described,supra.

         FU R TH ER A FFIA N T SA Y E TH N A U G H T

                                                     1            #


                                                  ' f . ,                     w
                                              R obertC .M acK arkich
                                              NationalPark SenriceRanger



  Subscribed and sw orn to before m e,
  this 23rd d y of         st, 20 8,
  atM iam i,F1o da           f'



  JO HN J.0 1 U LLI AN
  UN ITED S A TES A G ISTRATE JU DG E




                                                 5
